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Exhibit 1
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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MASSACHUSETTS

IN RE: Videotape
NEURONTIN MARKETING, SALES : Deposition of:
PRACTICES AND PRODUCTS :

LIABILITY LITIGATION 3 MICHAEL TRIMBLE

THIS DOCUMENT RELATES TO:
Smith, et al. v Pfizer, et al.

Case No. 05-cv-11515-PBS

TRANSCRIPT of testimony as taken by and
before PATRICIA A. SANDS, a Shorthand Reporter
and Notary Public of the States of New York and
New Jersey, at the offices of Lanier Law Firm,
126 East 56th Street, New York, New York, on
Tuesday, September 2, 2008, commencing at 9:15

in the forenoon.

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26 (P

ages 98 to 101)

 

Page 98 “Page 100 |
1 A No. 1 A Okay. :
2 Q If you look at the bottom part of 2 Q Back to the materials that you :
3 this graphic entitled "Rates of Depression 3 brought with you today to your deposition. |
4 Reported as an Adverse Event in Neurontin 4 A Okay.
5 Placebo-Controlled Trials", there are figures 5 Q_ There is an article entitled
6 for the rate of depression when you combine all 6 "Executive Functioning in Depressed Patients
7 epilepsy and neuropathy pain in randomized 7 with Suicidal Ideation", by Marzuk,
8 controlled study data. | 8 M-A-R-Z-U-K, published in Acta Psychiatry
9 Do you see that? 9 Scandinavia.
10 A Yes. 10 A Correct.
i1 Q_ And then under Neurontin for 11 Q In 2005?
12 depression, the percentage of patients 12 A Correct. :
13 reporting depression is 1.5. 13 Q__ Did you review this article for your :
14 Do you see that? 14 opinion in this case? :
15 A Correct. 15 A Idid.
16 Q_ For placebo, the number is 1.7. 16 MR. FINKELSTEIN: Can we just take a
17 Do you see that? 17 one second break?
18 A Ido. 18 Just -- I don't want to go off the
19 Q_ And 1.7 is higher than 1.5; correct? 19 record or anything -- just from an
20 A Correct. 20 organization standpoint, just so these
21 Q_ Turning again to your report at 21 don't end up all over the place, all I was
22 page 6, you state that -- on the bottom, last 22 going to do was put all of the exhibits
23 sentence: 23 . over here, just as you are going through,
24 "A review of the pharmacy records revealed 24 okay?
25 that he had been taking hydrocodone for 25 THE WITNESS: Okay.
Page 99 Page 101 ;
1 approximately 12 months prior to his death, and 1 MR. FINKELSTEIN: Yeah, why don't we :
2 in, and about, the time of his death.” 2 spread this out. Or why don't you give
3 A Correct. 3 those to me, and I'll just stack them up
4 Q_ Why do you note that? Does that have 4 here.
5 significance to your opinion? 5 MS. McGRODER: Actually I need them
6 A No, 6 here. Thanks.
7 Q Is there a reason why you made a note 7 MR. FINKELSTEIN: Okay, fine. :
8 of the fact that he was taking hydrocodone for 8 BY MS. McGRODER: A
9 ayear, and up to the time of his death, in 9 Q_ Before we discuss this article, H
10 your report? 10 Professor Trimble --
11 A Amedical report should contain 11 A Yes.
12 information on drugs that people are taking. 12 Q_ I note in the stack, that you have a H
13 Q_ And should it contain information on 13 number of additional articles. i
14 all drugs that the individual is taking? 14 A Correct. E
15 A Well, yes. But with an exclusion; 15 Q_ Related to suicide. i
16 namely, if he was on something for dermatitis, _ 16 A Correct. 4
17 I might not include that in a report like this. 17 Q_ These are published journal articles :
18 Q_ Soall drugs that are relevant to 18 or textbook chapters --
19 your opinion -- 19 A That's correct. :
20 A Correct. 20 Q_ That you, yourself, copied? :
21. Q_ -- in the, in this case, should be 2i A Yes.
22 included in your report? 22 Q_ Did you -- :
23 A Correct. 23 A Or my PA did. by
24 Q_ We'll continue to go through your 24 Q Okay. Did you, yourself, search for °
25 report in a minute. 25 __ and identify the literature that is in this :

 
  
   
  
 
 
 
 
 
   
  
  
  
  
       

 
 

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Page 266 Page 268 |’
1 A Well, I read them for the first time 1 potential factor. ;
2 yesterday. 2 Q_ That's your opinion?
3 Q_ Right. And in those depositions you 3 A Uhhum. ;
4 did you not find any testimony of the family 4 Q_ Which is fine. I'm talking about
5 members wherein they stated I did not 5 evidence in the record that he actually
6 personally observe Mr. Smith take Neurontin, 6 ingested Neurontin. And we've talked about F
7 you didn't see that in those depositions you 7 Mr. Smith's deposition, we've talked about
8 read yesterday? 8 statements that Mr. Smith made, and that
9 MR. FINKELSTEIN: Objection. 9 Neurontin was in the home; correct?
10 THE WITNESS: I did not observe or I 10 A Correct. ,
11 did observe? li Q_ Anything else?
12 BY MS. McGRODER: 12 A Not that I read in the depositions,
13 Q_ Did not. Do you want me to restate 13 no. . :
14 the question? 14 Q What was Mr. Smith's Gabapentin level _—f;
15 A I think so. 15 at the time of his suicide?
16 Q Inthe depositions that you read 16 A Sadly -- well, not sadly. The |
17 yesterday and in the Ruth Smith deposition that 17 autopsy never included any biochemical ;
18 you read a year ago, you didn't find any 18 analysis.
19 references to family members giving testimony 19 Q_ Well, he didn't have an autopsy; did ;
20 that they did not personally observe Mr. Smith 20 he? i
21 take Neurontin? 21 A Okay, I'm sorry. Blood was not taken :
22 MR. FINKELSTEIN: Objection. 22 to look to see what -- well, they didn't
23 THE WITNESS: They did not personally 23 measure -- actually it was taken, blood was
24 observe -- I don't recall any family 24 taken, but they didn’t measure Gabapentin.
25 member saying they did not observe 25 Q Other than a post-mortem blood :
i
Page 267 Page 269 f
1 Mr. Smith taking Neurontin. 1 screen -- well, let me articulate it
2 BY MS. McGRODER: 2 differently.
3 Q_ Okay, so the evidence that you have 3 Setting aside a post-mortem blood screen
4 that Neurontin was, in fact, ingested by 4 that doesn't identify Gabapentin -- well,
5 Mr. Smith-comes from Ruth Smith's deposition 5 withdrawn.
6 testimony? 6 It's true that you have no evidence as you
7 A_ And his own words, of course. 7 sit here today that Mr. Smith had Gabapentin in
8 Mr. Smith's own words. 8 his body at the time of his suicide?
9 Q Okay, and what else? Anything else? 9 MR. FINKELSTEIN: Objection.
10 A The fact that he had the medication, 10 THE WITNESS: There is no evidence
11 not strong evidence, but he had the medication 11 that Mr. Smith had Gabapentin inside his
12 athis home. And, well, his own words. 12 body in terms of biochemical evidence,
13 Q_ Anything else? I just want to make 13 that is correct.
14 sure we've talked about everything that you 14 BY MS. McGRODER: i
15 __ believe supports your opinion that he took 15 Q_ What was Mr. Smith's active serotonin :
16 Neurontin. 16 level at the time of his suicide? ;
17 A Well, there is also the fact that he 17 A Treally am not even going to
18 underwent a mental state change, which needs to |18 counsel -- I'm not going to counsel even i
19 be explained -- well, after he went on to the 19 answering that question. i
20 Gabapentin, which we know ultimately led to his 20 Q_ You don't know? :
21 suicide, so the mental state change, as a 21 A Of course I don't know.
22 behavioral neurologist, leads me to ask the 22 Q You don't know if he had an increased ;
23 questions: What was the trigger factor that 23 serotonin level or a decreased serotonin level :
24 lead to these events? And the alteration of 24 at the time of his suicide; do you? d
25 his mental state has to be included as the 25 A Of course not.
68 (Pages 266 to 269)

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1 Q_ You don't know if he had an increased 1 A I'mnot certain what the data sent to :
2 GABA level or a decreased GABA level at the 2 the FDA was, so I don't know if there were
3 time of his suicide; do you? 3 people on 300 milligrams a day within the FDA
4 A Of course not. 4 data. I just don't know.
5 Q_ At what dose, in your opinion, did 5 Q_ Soas you sit here today, you're not
6 Mr. Smith's GABA level increase enough to cause 6 aware of any peer reviewed published literature
7  areduction in active serotonin that would have 7 stating that Gabapentin at 300 milligrams a day
8 _ the clinical effect of making him impulsively 8 can cause suicide?
9 commit suicide? 9 A No.
10 A You can see changes. Again, this 10 Q_ And you're not aware of any peer i
11 takes us back to Petroff studies. And if we go 11 reviewed literature stating that Gabapentin at l
12 back, Petroff was giving, I think 600 to 12. 900 milligrams a day can cause suicide?
13 900 milligrams in those MRI studies. So you 13 A_ The dosages in the FDA analysis
14 can show brain changes in the brain on doses 14 included people on 900 milligrams a day. i
15 equivalent to that which Mr. Smith was taking. 15 Q_ And my question to you is: Are you 5
16 Q Did any of the patients in the 16 aware of peer reviewed published literature A
17 Petroff study commit suicide? 17 that concludes that Neurontin, specifically |
18 A_ Some of them were volunteers -- no, 18 Neurontin, can cause suicide at 900 milligrams ;
19 of course not. 19 aday? ;
20 Q_ Well, so my question is -- 20 A Taccept the FDA review as more ft
21 A_ No, they didn't. 21 substantial than peer reviewed literature,
22 Q_ So my question is: What dose does it 22 because there were 20 peers reviewing those |
23 take -- what dose did it take in Mr. Smith, 23 data.
24 consistent with your theory, that his GABA 24 Q Twenty? Where do you get 20?
25 level went up and his serotonin level dropped, 25 A Oh, 21. 21, I beg your pardon.
. Page 271 Page 273 4
1 so that he impulsively committed suicide? What 1 Q_ You're talking about the FDA advisory
2 dose was required to make that happen and 2 committee?
3 result in suicide? 3 A Correct.
4 A He was on 300 milligrams three times 4 Q_ And you're calling them a review
5  aday, so we would have to say that was a 5 body?
6 necessary and sufficient dose. 6 A High powered advisory body. Much
7 Q But you have no evidence that he was 7 more discriminating than sending a paper to a :
8 taking 300 milligrams three times a day at the 8 journal for peer review. fi
9 time of his suicide? 9 Q You understand, Dr. Trimble, that the
10 A_ I have said that we only have 10 FDA advisory committee does not perform a peer
11 indirect evidence that he was taking that. 11 review function as, for example, the peer
12 Q_ Well, in your opinion, what dose 12 review analysis that goes on, say in the F
13 would it take for a patient to impulsively 13 Journal of American Psychiatry? You. !
14 commit suicide as a result of taking Neurontin? 14 Understand they are not performing that
15 MR. FINKELSTEIN: Objection. 15 function; right? i
16 THE WITNESS: I think you could see 16 AI said it’s in many ways a more ;
17 this in somebody taking 300 milligrams a 17 superior critical review than you would get H
18 day, depending on that person, the way 18 through the peer review organization and i
19 they metabolize the drug and what happens 19 journals. i
20 when the drug gets to the brain. 20 Q_ And you understand the function of :
21 BY MS. McGRODER: 21 the FDA advisory committee was not to determine |;
22 Qs Are you aware of any evidence in the 22 whether the data could be published or not :
23 peer reviewed literature or in the world that 23 published, or the rigor of the data, the
24 Gabapentin, at 300 milligrams a day, causes 24 function was to answer certain questions put
25 impulsive suicide? 25 them by the FDA -- you understand that; right?

 

 

 

   
   
  
   
  
 

"69 (Pages 270 to 273)

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